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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION
SYMBOLOGY INNOVATIONS LLC,

                Plaintiff,
                                                           Case No. 2:19-cv-02293-JLG-KAJ
        v.
                                                                    PATENT CASE
TELESIS TECHNOLOGIES, INC.,
                                                             JURY TRIAL DEMANDED
                Defendant.


       DEFENDANT TELESIS TECHNOLOGIES, INC.’S MOTION TO DISMISS
       FOR FAILURE TO STATE A CLAIM AND MEMORANDUM IN SUPPORT
        Defendant Telesis Technologies, Inc. (“Telesis”) respectfully moves this Court to dismiss

Plaintiff Symbology Innovations LLC’s Complaint, pursuant to Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted, and submits its Memorandum

in Support simultaneously herewith.

Dated: August 1, 2019                            Respectfully submitted,
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I.     SUMMARY OF THE ARGUMENT

       Telesis U.S. Operations, Inc. (“Telesis”) requests that the Court dismiss this case because

U.S. Patent No. 8,424,752 (the “’752 Patent”) does not embrace patent-eligible subject matter. The

claims of the ’752 Patent are directed to the abstract idea of data recognition and retrieval, and

none of the claims recites any specific non-conventional hardware or software. In Secured Mail

Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017), the Federal Circuit

held claims directed to decoding a QR code—like the claims at issue in this case—invalid under

Alice, and affirmed the district court’s grant of a motion to dismiss pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure. The claims of the ’752 Patent cannot be meaningfully

distinguished from the Secured Mail claims and are thus invalid for the same reasons.

       Resolving this issue does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating an invalid patent, Telesis thus

requests that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure for failure to state a claim upon which relief can be granted.

II.    NATURE AND STAGE OF PROCEEDINGS

       On May 31, 2019, Plaintiff Symbology Innovations, LLC (“Symbology”) filed this lawsuit

accusing Telesis of infringing the ’752 Patent. Symbology accuses Telesis of infringing “at least

Claim 1” of the ’752 Patent by Telesis’s alleged testing Quick Response Codes (“QR codes”) that

have been marked onto products:




Compl. ¶¶ 18–23.




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III.    STATEMENT OF THE FACTS

        The ’752 Patent is entitled “System and Method for Presenting Information about an Object

on a Portable Electronic Device.” It is directed to “enabling a portable electronic device to retrieve

information about an object when the object’s symbology, e.g., a barcode, is detected.”

’752 Pat., Abstract.

        Claim 1 of the ’752 Patent, set forth below, is representative of the claims:

        1. A method comprising:

            capturing a digital image using a digital image capturing device that is part of a
               portable electronic device;

            detecting symbology associated with an object within the digital image using a
                portable electronic device;

            decoding the symbology to obtain a decode string using one or more visual
               detection applications residing on the portable electronic device;

            sending the decode string to a remote server for processing;

            receiving information about the object from the remote server wherein the
                information is based on the decode string of the object;

            displaying the information on a display device associated with the portable
                electronic device.

’752 Pat., Cl. 1.

        Under Symbology’s characterization of the ’752 Patent, this claim can be broken down

into six main steps: (1) capturing an image with a camera or a scanner on a “portable electronic

device” (e.g., taking a photograph or scanning an image with a smartphone); (2) detecting a

symbology (e.g., recognizing a barcode in the captured image); (3) decoding the symbology to

obtain a “decode string” (e.g., reading information from the barcode); (4) sending the “decode

string” to a “server” for processing (e.g., requesting a webpage based on the information obtained

from the barcode); (5) receiving information from the “server” in response (e.g., receiving the



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contents of the webpage ); and (6) displaying the information received on the portable electronic

device (e.g., displaying a webpage). Put simply, these steps are directed to recognizing and

retrieving information associated with a pattern.

       The applicant made clear through his own language in the specification that the

components and processes for carrying out the claimed method were conventional. For example,

the claimed “portable electronic device” can be virtually any mobile device capable of taking a

photograph or scanning an image. Id., 1:58–61 (“Examples of the portable electronic devices that

contain both applications and imaging systems include Apple Computer’s IPhone, Google’s Droid,

and various mobile devices from Motorola”); id., 2:57–61 (“Using any applicable visual detection

device (e.g., a camera, scanner, or other device) on the portable electronic device, the user may

select an object by scanning or capturing an image of symbology (e.g., barcodes) associated with

the object.”). The applicant further acknowledged that various programs and applications operable

on a portable electronic device to scan and decode a barcode were available in the prior art. Id.,

3:29–33 (“Examples of applications that allow scanning include Neomedia’s Neo Reader,

Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”). According to the

’752 Patent, once a barcode is decoded (using any of these existing applications), the “decode

string” (i.e., the information obtained from the barcode) is then “sent” to a “remote server” to

retrieve information (e.g., webpage content) that is then displayed on the portable electronic

device. Id., 3:21–28.




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IV.    LEGAL STANDARDS

       A.      Legal Standard for Dismissal Pursuant to Rule 12(b)(6).

               1.      This Case Should Be Disposed of at the Pleading Stage Through Rule
                       12(b)(6).

       Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a party may move to dismiss

a complaint that fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6)

motion, a complaint must provide allegations that “raise a right to relief above the speculative

level.” New Albany Tractor, Inc. v. Louisville Tractor, Inc., 650 F.3d 1046, 1051 (6th Cir. 2011).

Although factual allegations are taken as true, legal conclusions are given no deference—those

matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (tenet that

allegations are taken as true on a motion to dismiss “is inapplicable to legal conclusions”). “[W]hen

the allegations in a complaint, however true, could not raise a claim of entitlement to relief [as a

matter of law], this basic deficiency should . . . be exposed at the point of minimum expenditure

of time and money by the parties and the court.” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir.

2007) (internal citations and quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).




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               2.      The Law of 35 U.S.C. § 101.

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract

ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract intellectual concepts are

not patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting

Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

an element or combination of elements that is sufficient to ensure that the patent in practice

amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

limited if it includes only token or insignificant pre- or post-solution activity—such as identifying

a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14


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(1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

broad and general limitation does not impose meaningful limits on the claim’s scope.”).

V.     ARGUMENT

       Symbology’s Complaint should be dismissed. The claims of the ’752 Patent are invalid

under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of the claims is directed

to the abstract idea of data recognition and retrieval. Abstract ideas are not eligible for patenting.

None of the claims contains an “‘inventive concept’ . . . sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the ineligible concept itself.” See Alice,

134 S. Ct. at 2355 (emphasis added). Because Symbology has failed to state a claim upon which

relief may be granted, Telesis respectfully requests that the Court grant its motion and dismiss this

case with prejudice. Fed. R. Civ. P. 12(b)(6).

       A.      The ’752 Patent is Invalid Under § 101.

               1.      Alice Step 1: Claim 1 of the ’752 Patent is directed to the abstract idea
                       of data recognition and retrieval.

       In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’752 Patent are directed to an unpatentable, abstract idea because they claim nothing

more than the “longstanding,” “routine,” and “conventional” concept of data recognition and

retrieval. See Alice, 134 S. Ct. at 2356–59; Bilski, 561 U.S. at 611.




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          Claim 1 of the ’752 Patent is representative of the claims. 1 See, e.g., Phoenix Licensing,

L.L.C. v. Consumer Cellular, Inc., 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D. Tex.

Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims” where

the other claims were “substantially similar” and “linked to the same abstract idea.”). In assessing

whether Claim 1 is directed to an abstract idea, the Court begins by analyzing the “focus” of the

claim, i.e., its “character as a whole,” in order to determine whether the claim is directed to an

abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018).

          All Claim 1 of the ’752 Patent covers is a way to use a barcode to obtain information in

order to access a webpage, consisting of nothing more than a set of basic ideas like capturing,

detecting, decoding, sending, receiving, and displaying data:

                              Claim Language                                     Claimed Idea

    A method comprising:

        capturing a digital image using a digital image capturing device     capturing data
    that is part of a portable electronic device;

       detecting symbology associated with an object within the digital      detecting data
    image using a portable electronic device;

       decoding the symbology to obtain a decode string using one or         decoding data
    more visual detection applications residing on the portable electronic
    device;

       sending the decode string to a remote server for processing;          sending data

      receiving information about the object from the remote server          receiving data
    wherein the information is based on the decode string of the object.;

       displaying the information on a display device associated with the    displaying data
    portable electronic device.




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  Where claims are “substantially similar and linked to the same abstract idea,” courts may look
to representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).

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        At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data). Such a

broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the claim purports to

implement the steps with conventional components like a “portable electronic device,” a “remote

server,” a “display device,” and generic “visual detection applications” does not make it any less

abstract.

        The specification admits that barcode scanning and decoding programs were prevalent at

the time of the invention. ’752 Pat., 3:29–36. Indeed, the claims implement this prior-art

technology to carry out the steps of capturing, detecting, decoding, and retrieving information from

a server. Claim 1 of the ’752 Patent does no more than use existing technology to recognize an

image, decode the image, then do something based upon the decoded information. It is thus

directed to the abstract idea of data recognition and retrieval.

        Courts have found similar patent claims to be ineligible. In Content Extraction, the claims

generally recited “a method of 1) extracting data from hard copy documents using an automated

digitizing unit such as a scanner, 2) recognizing specific information from the extracted data, and

3) storing that information in a memory.” Content Extraction, 776 F.3d at 1345. The claimed

method “could be performed by software on an automated teller machine (ATM) that recognizes

information written on a scanned check, such as the check’s amount, and populates certain data

fields with that information in a computer’s memory.” Id. The Federal Circuit concluded in Alice’s

first step that the claims were “drawn to the abstract idea of 1) collecting data, 2) recognizing

certain data within the collected data set, and 3) storing that recognized data in a memory”; or, put

simply: “data recognition and storage.” Id. at 1347. In rejecting the plaintiff’s argument that the

claims were not abstract because they required the use of a scanner, the Federal Circuit likened the

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claims to those found abstract in Alice, which “also required a computer that processed streams of

bits.” Id. Like the Content Extraction claims, Claim 1 of the ’752 Patent is abstract because it

simply decodes an image to obtain information and then retrieves data from a server based on that

information. The claims in Content Extraction were directed to data recognition and storage,

whereas the ’752 Patent is directed to data recognition and retrieval—the former claims stored the

recognized data, while the latter claims retrieve additional data based on the recognized data.

       In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

Circuit found the patent claim at issue to be directed toward the abstract idea of “encoding and

decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in Recognicorp recited:

               A method for creating a composite image, comprising:

              displaying facial feature images on a first area of a first display via a first
       device associated with the first display, wherein the facial feature images are
       associated with facial feature element codes;

               selecting a facial feature image from the first area of the first display via a
       user interface associated with the first device;

               wherein the first device incorporates the selected facial feature image into a
       composite image on a second area of the first display, wherein the composite image
       is associated with a composite facial image code having at least a facial feature
       element code and wherein the composite facial image code is derived by
       performing at least one multiplication operation on a facial code using one or more
       code factors as input parameters to the multiplication operation; and

             reproducing the composite image on a second display based on the
       composite facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a first

display, assigns image codes to the images through an interface using a mathematical formula, and

then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit found that this

method reflected “standard encoding and decoding.” Id.




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       The Federal Circuit then explained that encoding and decoding data is “an abstract concept

long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v. Capital One Fin.

Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and manipulating data

encoded for human- and machine-readability is directed to an abstract concept)). The court

provided several examples of long-utilized methods of encoding and decoding of data to transmit

information: “Morse code, ordering food at a fast food restaurant via a numbering system, and

Paul Revere’s ‘one if by land, two if by sea’ signaling system all exemplify encoding at one end

and decoding at the other end.” Id. Claim 1 of the ’752 Patent likewise simply decodes an image

to obtain information, an abstract concept.

       Additionally, in Secured Mail, the Federal Circuit found claims directed to encoding and

decoding a bar code invalid under both Alice steps. Secured Mail, 873 F.3d at 907. The Secured

Mail claims “provide[d] a method whereby a barcode is generated, affixed to a mail object, and

sent through the mail system [and t]hen, upon receipt, the barcode is scanned, and data

corresponding to the sender is sent to the recipient over the network and displayed on the

recipient’s device.” Id. at 910–11. The Federal Circuit found that “each step of the process is

directed to the abstract process of communicating information about a mail object using a

personalized marking.” Id. at 911. And because the claims were “non-specific and lack[ed]

technical detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit

concluded that the claims lacked an inventive concept. Id. at 912.

       The idea underlying Claim 1 of the ’752 Patent is just as abstract as those of the Content

Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does not include

any specific limitations or steps regarding extracting data or decoding the data. Rather, all of the

steps required to carry out the method are directed to the generic, conventional ideas of recognizing

an image, decoding the image, and then doing something based upon the decoded information.

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Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed. Cir. 2014) (finding

claim directed to “the well-known concept of categorical data storage, i.e., the idea of collecting

information in classified form, then separating and transmitting that information according to its

classification, is an abstract idea that is not patent-eligible”). That Claim 1 of the ’752 Patent sends

and receives the decoded information over a network does not make it any less abstract. See, e.g.,

Ultramercial, 772 F.3d at 716 (noting that “the use of the Internet is not sufficient to save otherwise

abstract claims from ineligibility under § 101”) (citation omitted).

       Claim 1 thus differs from the claims that the Federal Circuit has held to be eligible because

they claimed specific means for improving specific computer technology or solving specific

computer problems. For example, the Federal Circuit addressed the eligibility of claims directed

to improving computer security in Ancora Technologies, Inc. v. HTC America, Inc., 908 F.3d 1343

(Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated, “Improving

security—here, against a computer’s unauthorized use of a program—can be a non-abstract

computer-functionality improvement . . . done by a specific technique that departs from earlier

approaches to solve a specific computer problem.” Id. at 1348 (emphasis added). The court was

persuaded because “[t]he claimed method here specifically identifies how that functionality

improvement is effectuated in an assertedly unexpected way.” Id. The same is not true of Claim 1

of the ’752 Patent. It does not require a specific and unconventional technique, and it does not

identify any specific improvement to computer functionality, much less an unexpected way of

effectuating such an improvement.

       By only claiming the desired result—recognizing and retrieving information associated

with a pattern like a barcode—without describing any specific roadmap for doing so, Claim 1 of

the ’752 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents




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Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail, 873 F.3d at

910–11.

                2.      Alice Step 2: Claim 1 of the ’752 Patent contains no inventive concept
                        sufficient to transform the abstract idea into patent-eligible matter.

        Because Claim 1 of the ’752 Patent is directed to an abstract idea, the Court must next

determine whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To

pass this test, Claim 1 of the ’752 Patent “must include additional features” that “must be more

than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation

omitted). Here, Claim 1 of the ’752 Patent is broadly generic and does not contain meaningful

limitations that would restrict it to a non-routine, specific application of the abstract idea.

        Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high level of

generality as “capturing a digital image,” “detecting” a barcode, “decoding [the barcode] . . . to

obtain a decode string,” “sending the decode string to a remote server for processing,” “receiving

information . . . from the remote server,” and “displaying the information.” To accomplish these

steps, Claim 1 of the ’752 Patent recites the use of a “portable electronic device,” “visual detection

applications,” and a “remote server.” But the claimed “portable electronic device” can be virtually

any device capable of taking a photograph (’752 Pat., 1:58–61), the “visual detection applications”

can be a variety of off-the-shelf applications that users have installed on their smartphones (id.,

3:29–33), and the claimed “server” is implemented using generic hardware (id., 9:65–10:1) to

perform generic website functions (id., 5:33–42).

        The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

disclosing an “improved, particularized method of digital data compression,” DDR Holdings, LLC



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v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a computer

stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed.

Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from others that

“simply add[ed] conventional computer components to well-known business practices,” id. at

1338, holding instead that “they [we]re directed to a specific improvement to the way computers

operate,” id. at 1336. In particular, the unconventional structure of the database resulted in

“increased flexibility, faster search times, and smaller memory requirements.” Id. at 1337. Unlike

Enfish, nothing in Claim 1 of the ’752 Patent shows any unconventional method that would amount

to a “specific improvement to the way computers operate.” Therefore, the focus of the ’752 Patent

is not “on [a] specific asserted improvement in computer capabilities” but instead “on a process

that qualifies as an ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336.

       There is simply nothing “inventive” about using a known process (i.e., decoding a barcode)

to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract functional

descriptions in Claim 1 of the ’752 Patent are devoid of any technical explanation as to how to

implement the purported invention in an inventive way. See In re TLI Commc’ns LLC Patent Litig.,

823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification limited its

discussion of “additional functionality” of conventional components “to abstract functional

descriptions devoid of technical explanation as to how to implement the invention”). Similar to

the invalidated claim in Recognicorp, nothing in Claim 1 of the ’752 Patent “‘transforms’ the

abstract idea of . . . decoding,” i.e., recognizing information, “into patent-eligible subject matter.”

Recognicorp, 855 F.3d at 1328 (citing Alice, 134 S. Ct. at 2357).

       Unlike the Federal Circuit’s decision in Berkheimer, this case does not present any factual

disputes requiring resolution before the Court can decide this § 101 issue. In Berkheimer, the

Federal Circuit noted that the specification explicitly “describe[d] an inventive feature that store[d]

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parsed data in a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369

(Fed. Cir. 2018). The Federal Circuit then examined whether the improvements described in the

specification were included in the claims. For those claims where the inventive feature in the

specification was “captured in the claims,” the Federal Circuit found a “factual dispute regarding

whether the invention describe[d] well-understood, routine, and conventional activities.” Id. But

where the claims did not recite the purportedly inventive features described in the specification,

the Federal Circuit concluded that they were directed to patent ineligible subject matter under

§ 101. Id. Here, in contrast, there is no need for fact discovery at all because neither the claims nor

the specification of the patent describes any unconventional components or the use of generic

components in some unconventional manner, and no amount of fact discovery can change that.

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract idea patent-eligible.

See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer

receives and sends the information over a network—with no further specification—is not even

arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most, [the] claims attempt to

limit the abstract idea of recognizing and storing information from hard copy documents using a

scanner and a computer to a particular technological environment. Such a limitation has been held

insufficient to save a claim in this context.”); Bancorp, 687 F.3d at 1276–77. In addition, an

“abstract idea does not become nonabstract by limiting the invention to a particular field of use or

technological environment, such as [mobile services].” Intellectual Ventures I LL v. Capital One

Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       Because Claim 1 is altogether devoid of any “inventive concept,” it is patent-ineligible

under § 101. See Alice, 134 S. Ct. at 2359–60.




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               3.      The remaining claims fail both steps of the Alice test.

       The remaining claims of the ’752 Patent relate to the same abstract concept of data

recognition and retrieval. Specifically, each of the other independent claims refers only to standard

computing means for decoding data. For example, the claims describe a “computer application”

comprising “logic” (’752 Pat., Cl. 17), or a “symbology management application” (id., Cl. 24), to

perform each of the steps in Claim 1 of the ’752 Patent.

       Some of the dependent claims recite limitations for: (1) running visual detection

applications in the background (id., Cl. 4); (2) configuring visual detection applications to

automatically detect barcodes (id., Cl. 5); and (3) analyzing the decode string and selecting

appropriate application to decode (id., Cl. 9). These claims also suffer from the same results-

oriented (and thus ineligible) claim language as Claim 1.

       Other dependent claims recite insignificant pre- or post-solution activity, such as

allowing a user to select certain preferences or store data:

                    Pre- or Post-Solution Activity                                Claims

 enabling users to select certain preferences                           ’752 Patent (Cls. 2, 3, 18)

 detecting barcodes based on user request                               ’752 Patent (Cl. 7)

 sending instructions to visual detection applications and remote       ’752 Patent (Cl. 8)
 servers

 enabling the user to store information                                 ’752 Patent (Cl. 11)

 providing e-commerce options to the user                               ’752 Patent (Cl. 12)

 decoding barcodes using visual search technology                       ’752 Patent (Cls. 15, 23)

       The remaining claims recite activity like alerting the user and asking to decode a barcode,

analyzing a decode string and selecting the appropriate application to decode, allowing the user to




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select an application to decode the barcode, and displaying information and images. See, e.g., ’752

Pat., Cls. 6, 10, 13, 14, 16, 19, 20, 21, and 22.

        Each of these claims, like Claim 1 of the ’752 Patent, is not meaningfully limited because

these activities are not “essential to the invention.” Clear with Computers, LLC v. Dick’s Sporting

Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations must “do more than

recite pre- or post-solution activity, they [must be] central to the solution itself” to be meaningful)

(quotations omitted). Because all of these claims are directed to the abstract idea of data

recognition and retrieval and none includes any inventive concept, the claims similarly fail both

steps of the Alice test.

        B.      The Disproportionate Risk of Preemption Confirms that the Claims Are
                Abstract.

        Because the claimed methods and systems can be implemented using virtually any device

capable of taking a photograph, any off-the-shelf scanning/decoding application, and any

conventional server capable of sending and receiving information, the ’752 Patent risks preempting

all automated methods or systems for recognizing a pattern, like a barcode, and retrieving data

based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829,

843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims [were] largely

functional in nature, they [did] not provide any significant description of the particular means by

which the various recited functions are performed,” and “[a]ll that [was] disclosed [was] the

ultimate objective”). Therefore, the claims implicate the same preemption concern undergirding

the § 101 analysis and should be found ineligible.




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VI.    CONCLUSION

       For the foregoing reasons, Telesis respectfully requests that the Court dismiss Symbology’s

Complaint for failure to state a claim upon which relief can be granted. Because leave to amend

would be futile, Telesis requests dismissal with prejudice.

Dated: August 1, 2019                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on August 1, 2019, in accordance with Local Civil Rule

5.2, the foregoing instrument was filed with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to all counsel of records as follows:


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